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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Chicago Alliance against Racist and Political
Repression, Anti-War Coalition, Students for a
Democratic Society at UIC and United States
Palestinian Community Network,

                      Plaintiffs,                     Case No. 24-cv-02347

v.                                                    Judge Andrea R. Wood

City of Chicago, an Illinois Municipal Corporation,   Magistrate Judge David Weisman
and Tom Carney, solely in his capacity as
Commissioner of the Chicago Department of
Transportation,

                      Defendants.


                              FIRST AMENDED COMPLAINT

        Plaintiffs Chicago Alliance Against Racist and Political Repression (“CAARPR”), the

Anti-War Committee (“AWC”), Students for a Democratic Society at UIC (“SDS at UIC”) and

the United States Palestinian Community Network (“USPCN”), for their Complaint against the

City of Chicago, an Illinois municipal corporation (hereafter “Chicago”), and Tom Carney, solely

in his capacity as Commissioner of the Chicago Department of Transportation (hereafter “CDOT

Commissioner”) (collectively “Defendants”), state as follows:

                       I.       PRELIMINARY STATEMENT

        1.      In January of 2024, the Plaintiff organizations CAARPR, AWC and SDS at UIC

timely filed parade permits to hold protest marches within sight and sound of the Chicago United

Center, the site of the 2024 Democratic National Convention (“DNC”). At the time, the state of

Israel’s attack on the people of Palestine had recently begun with the use of U.S.-made and funded

weapons and had resulted in the killing of over ten thousand Palestinians. The Plaintiff

organizations expected thousands to participate in the marches at the DNC.

        2.      Since that time, the number of Palestinian civilians killed with bombs and
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missiles made in and funded by the United States has swelled to almost 50,000, 30% of which are

estimated to be women and 40% of which are estimated to be children. In addition, more than 2

million of the 2.3 million Gazans have been displaced and more than a million Gazans – mostly

children – face catastrophic conditions and are literally starving to death due to Israeli military

action supported by and funded by the United States. As a result of these foreign policy

developments, in conjunction with pressing domestic issues such as the rise of police repression

and the growing disparity between rich and poor, the need for freedom of speech is at its peak. The

ability to deliver these messages to federal Democratic officials scheduled to attend the DNC in

Chicago – including the President Biden, the one person who can stop the suffering in Gaza with

a single phone call – is particularly acute. Further, the expected participation in the marches on the

DNC have grown to be in the tens of thousands with some media outlets projecting over 100,000

coming to Chicago to participate.1 In seeking parade permits in January, these Plaintiffs have

sought to direct their political speech through organized, peaceful marches designed to allow all

of the participants to express their political messages on public streets directed at public officials.

        3.        In response, the Defendants rejected these Plaintiff Organizations’ parade permit

applications and offered them as an alternate route on which to march a less than one mile, blocked

off, tree-lined strip of Columbus Drive, three to four miles east of the United Center and required

Plaintiffs to take-it-or-leave-it, asserting that if they did not take it, they would lose their right to a

permit for their respective marches. On June 20, 2024, the fourth Plaintiff Organization, USPCN,

filed an application for a parade permit which was also rejected.

        4.        On March 22, 2024, the original Plaintiff Organizations filed this lawsuit

asserting the Defendants’ denial of the parade permits violated and proposed alternate route not


        1
         See, e.g., Wall Street Journal, “GOP Plan for Democratic Convention: Bash Chicago as a
Mess”, June 22, 2024 (projecting up to 100,000 protesters at the DNC).
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within sight and sound of the site of the DNC violated their First Amendment Rights. Late

Thursday, July 11, 2024, the City of Chicago, seemingly recognizing the unconstitutionality of the

City’s original proposed alternate route, offered a new alternate route between Union Park and

Park No. 578, within sight and sound of the United Center (“Revised City Alternate Route”).2

        5.        While the Defendants’ Revised City Alternate Route resolves some of the issues

raised in the original Complaint, issues relating to the size of the route given the likely increase in

the number of participants in the marches and issues related to the potential for log jams on a route

that uses smaller side streets remain and will unconstitutionally impede on the Plaintiffs’ First

Amendment rights.

                            II.      NATURE OF THE CASE

        6.        This lawsuit arises under Section 1983 of the Civil Rights Act of 1871 (“Section

1983”) for violation of the First Amendment rights of Plaintiffs, all organizations seeking to

conduct peaceful political protest marches during the Democratic National Convention (“DNC”)

from August 1,9 2024 to August 22, 2024 relating to U.S. foreign and domestic affairs and directed

at federal elected officials, including the President and Congresspeople, who will be attending the

DNC. Plaintiffs allege that the Chicago Ordinance 10-8-330 (“Ordinance”) which regulates

issuance of permits for parades such as those sought by Plaintiffs is: (1) unconstitutional on its

face and/or as applied because it permits Defendants to deny a permit solely based on an overly
broad definition of “duplicative” in Section (d)(1) of the Ordinance without consideration of a

narrowly tailored restriction to meet a compelling governmental interest; (2) unconstitutional as

applied to Plaintiffs and their permit applications because in denying the permit applications

pursuant to Section (g) of the Ordinance, Chicago failed to consider an alternate route narrowly

tailored restriction to meet a compelling governmental interest which has a similar route and

        2
           See July 11, 2024 email from counsel for Defendants to counsel for Plaintiffs formally offering
the revised alternate route, attached hereto as Exhibit A. See also Google Map rendition of Defendants
revised alternate route attached as Exhibit B. The City’s revised alternate route was also offered as an
alternate route along with the denial of the parade permit sought by USPCN.
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location as required by Section (k) of the Ordinance and the First Amendment; and (3)

unconstitutional as applied because Defendants denied the parade applications and offered a single

alternate route on a take-it-or-leave before they had sufficient information to craft an alternate

route with restrictions narrowly tailored to meet a compelling governmental interest.

                       III.      JURISDICTION AND VENUE

        7.       This matter arises under the U.S. Constitution and laws of the united states,

specifically the First Amendment and 42 U.S.C. § 1983.

        8.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.

        9.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 as a

substantial number of the facts and events giving rise Plaintiffs’ claims occurred in this judicial

district and as Defendants are a governmental body and public official respectively within this

jurisdiction.

                                    IV.        PARTIES

A.      Plaintiffs

        10.      Plaintiff Chicago Alliance Against Racist and Political Repression (“CAARPR”)

is an organization of housed in Chicago, Illinois, within this judicial district and run in part by co-

chair Kobi Guillory, who reside within this judicial district and is made up of members who are

citizens and residents of the United States.

        11.      Plaintiff Anti-War Committee (“AWC”) is an organization of housed in Chicago,

Illinois, within this judicial district and run, in part by co-chair John Metz, who reside within this

judicial district and is made up of members who are citizens and residents of the United States.

        12.      Plaintiff Students for a Democratic Society at the University of Illinois (“SDS at

UIC”) is an organization of housed in Chicago, Illinois, within this judicial district and run, in part
by SDS at UIC President Henry Rathburn a/k/a Liz Rathburn, who reside within this judicial

district, and is made up of members who are citizens and residents of the United States.

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        13.          Plaintiff United States Palestinian Community Network (“USPCN”) is an

organization of housed in Chicago, Illinois, within this judicial district and run National Chair,

Hatem Abudayyeh, who reside within this judicial district and is made up of members who are

citizens and residents of the United States.

B.      Defendants

        14.          Defendant the City of Chicago (“Chicago”) is a lawfully constituted municipality

under the laws of the State of Illinois, within this judicial district.

        15.          Defendant Tom Carney is the Commissioner of the Chicago Department of

Transportation being sued only in his official capacity for acts and omissions committed in this

judicial district.

                            V.       FACTUAL BACKGROUND

        16.          The Democratic National Committee (“Dem. Nat’l Comm.”) is scheduled to hold

its 2024 convention to nominate its Democratic candidate for President and Vice President of the

United States, federal elected offices.

        17.          Chicago successfully lobbied the Dem Nat’l Comm. heavily to hold the 2024

Democratic National Convention (“DNC”) in Chicago.

        18.          The DNC will be held at the United Center (“UC”) located at 1901 W. Madison

Street in Chicago, Illinois, at least three (3) miles west of the city center.

        19.          As the city hosting the 2024 DNC, Chicago has the obligation to protect not only

the safety and security of the delegates, politicians and other attending the DNC and the residents

of the City of Chicago, but also to secure the First Amendment rights of citizens and residents of

the City of Chicago and the United States to engage in political speech and to peacefully assemble

in public venues with the restrictions narrowly tailored to meet a compelling City of Chicago

interest.

        20.          Plaintiffs, all organizations with membership made up of citizens and residents
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of the City of Chicago and the United States, applied for parade permits under the Ordinance to

conduct peaceful marches with a political message directed at the federal officials in attendance at

the DNC being held at the UC.

       21.       On January 10, 2024, Plaintiff CAARPR, through Kobi Guillory, applied for a

parade permit pursuant to the Ordinance for a march proposed to be conducted in the area of the

UC entitled March on the DNC 2024 to be held on August 19, 2024. See CAARPR parade permit

application attached hereto as Exhibit C.

       22.       On January 22, 2024, the CDOT Commissioner, through his designee, Bryan

Gallardo, denied the January 10, 2024 CAARPR parade permit application for the March on the

DNC 2024 to be held on August 19, 2024 based on Section (g) of the Ordinance, which permits

the CDOT Commissioner to deny a permit application if:

       (1) the proposed parade will substantially or unnecessarily interfere with traffic in
       the area contiguous to the activity, or that, if the parade will substantially interfere
       with such traffic, that there are available at the time of the proposed parade
       sufficient city resources to mitigate the disruption; or (2) there are not available at
       the time of the parade a sufficient number of on-duty police officers, or other city
       employees authorized to regulate traffic, to police and protect lawful participants
       in the parade and non-participants from traffic-related hazards in light of the other
       demands for police protection at the time of the proposed parade.

       Ordinance 10-8-330(g).

       23.       In the January 22, 2024 denial letter, the CDOT Commissioner offered an

alternate route for the parade which could be conducted on Columbus Ave between East Roosevelt

Road and East Jackson Blvd, in downtown Chicago (hereafter “City Alternate Route”). See

January 22, 2024 Denial Letter, attached as Exhibit D; see also Exhibit E (the City Original

Alternate Route).

       24.       Defendants’ original alternate route is between three (3) and four (4) miles east

of the UC, the site of the DNC.


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          25.      Defendants offered the alternate route on a take-it-or-leave-it basis or, in other

words, required Plaintiff CAARPR to accept the alternate route or forever lose its right to a parade

permit.

          26.    Section (k) requires the City of Chicago, in pertinent part:

          When the commissioner denies an application for a parade permit, the
          commissioner shall authorize the conduct of a parade on a date, at a time, at a
          location, or over a route different from that named by the applicant. This alternate
          permit shall, to the extent practicable, authorize an event that will have comparable
          public visibility and a similar route, location and date to that of the proposed
          parade.

          Ordinance 10-8-330(k)(emphasis added)

          27.      Defendants originally made no effort to communicate with Plaintiff CAARPR to

discuss an alternate route with comparable visibility and a similar route and location to the extent

possible, instead making the offer of the alternate route on a take-it-or-leave-it basis.

          28.      Defendants originally made no effort to consider alternate routes that would be

more narrowly tailored restrictions on the proposed route in terms of time, manner and place.

          29.      Only as a result of Plaintiff CAARPR’s participation in this lawsuit, on July 11,

2024, Defendants offered Plaintiff CAARPR the Revised City Alternate Route which is within

sight and sound of the UC and the DNC. See Defendants’ Revised City Alternate Route attached

as Exhibit A and visual representation attached as Exhibit B.

          30.      However, the Defendants’ Revised City Alternate Route is just over a mile long

and will not be long enough to accommodate marches with tens of thousands of participants within

the time frame allowed.

          31.      In addition, the Defendants’ Revised City Alternate Route requires marchers to

turn off of West Washington Blvd, one of Chicago’s widest streets, onto North Hermitage and then

West Maypole, two smaller side streets. With the size of the marches, forcing the marchers onto


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smaller streets will almost certainly result in log jams, denying marchers the ability to march by

the UC and leading to potential confrontations with the police.

       32.       On January 7, 2024, Plaintiff CAARPR applied for a parade permit pursuant to

the Ordinance for a march proposed to be conducted in the area of the UC entitled March on the

DNC 2024 to be held on August 22, 2024. See CAARPR January 7, 2024 parade permit

application attached hereto as Exhibit F.

       33.       On February 1, 2024, the CDOT Commissioner, through his designee, Bryan

Gallardo, denied the January 7, 2024 CAARPR parade permit application for the March on the

DNC 2024 to be held on August 22, 2024 based on the application the January 30, 2024 application

being duplicative of the January 10, 2024 application filed by CAARPR. See February 1, 2024

CDOT Commissioner Denial Letter, attached hereto as Exhibit G.

       34.       In support of the February 1, 2024, the CDOT Commissioner relied exclusively

on Section (d) of the Ordinance which states in pertinent part:

       No person or organization may submit more than one application for the same
       parade date and route, or for a parade substantially similar in theme or units
       described but requesting an alternate date or route, whether using the same name,
       different names, or different affiliations that the person or organization may control
       or be a member of.

       Ordinance 10-8-330(d)(1)(emphasis added)

       35.       CAARPR appealed the denial of the January 30, 2024 parade permit application

to the Chicago Department of Administrative Hearings and the permit denial was upheld. See

Hearing Officer Decision in 23 PA 000003, attached hereto as Exhibit H.

       36.       Only as a result of Plaintiff CAARPR’s participation in this lawsuit, on July 11,

2024, Defendants offered Plaintiff CAARPR the Revised City Alternate Route which is within

sight and sound of the UC and the DNC. See Exhibits A and B.

       37.       However, the Defendants’ Revised City Alternate Route is just over a mile long

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and will not be long enough to accommodate marches with tens of thousands participants within

the time frame allowed.

        38.       In addition, the Defendants’ Revised City Alternate Route requires marchers to

turn off of West Washington Blvd, one of Chicago’s widest streets, onto North Hermitage and then

West Maypole, two smaller side streets. With the size of the marches, forcing the marchers onto

smaller streets will almost certainly result in log jams, denying marchers the ability to march by

the UC and leading to potential confrontations with the police.

        39.       On February 29, 2024, Plaintiff AWC, through John Metz, applied for a parade

permit pursuant to the Ordinance for a march proposed to be conducted in the area of the UC

entitled March for the People’s Agenda Parade to be held on August 22, 2024. See AWC February

29, 2024 parade permit application attached hereto as Exhibit I.

        40.       On March 7, 2024, the CDOT Commissioner, through his designee, Bryan

Gallardo, denied the February 29, 2024 AWC parade permit application for the March for the

People’s Agenda Parade to be held on August 22, 2024 based on Section (g) of the Ordinance. See

¶26, supra; see also March 7, 2024 CDOT Commissioner Denial Letter, attached as Exhibit J.

        41.       In the March 7, 2024 denial letter, the CDOT Commissioner offered the same

City Alternate Route. See Exh. J.; see also Exh, E.

        42.       The original City Alternate Route is more than three (3) miles east of the UC, the

sight of the DNC, at its closest point and that section of Columbus Drive is a tree-lined street which

is largely not visible from either Lake Shore Drive to the east or Michigan Avenue to the west.

        43.       Defendants originally made no effort to communicate with Plaintiff AWC to

discuss an alternate route with comparable visibility and a similar route and location to the extent

possible as required by Section (k) of the Ordinance (see ¶20, supra), instead making the offer of

the alternate route on a take-it-or-leave-it basis.
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       44.       Defendants originally made no effort to consider alternate routes that would be

more narrowly tailored restrictions on the proposed route in terms of time, manner and place.

       45.       AWC appealed the denial of the February 29, 2024 parade permit application to

the Chicago Department of Administrative Hearings and the permit denial was upheld. See

Hearing Officer Decision in 23 PA 000004, attached hereto as Exhibit K.

       46.       Only as a result of Plaintiff AWC’s participation in this lawsuit, on July 11, 2024,

Defendants offered Plaintiff AWC the Revised City Alternate Route which is within sight and

sound of the UC and the DNC. See Exhibits A and B.

       47.       However, the Defendants’ Revised City Alternate Route is just over a mile long

and will not be long enough to accommodate marches with tens of thousands of participants within

the time frame allowed.

       48.       In addition, the Defendants’ Revised City Alternate Route requires marchers to

turn off of West Washington Blvd, one of Chicago’s widest streets, onto North Hermitage and then

West Maypole, two smaller side streets. With the size of the marches, forcing the marchers onto

smaller streets will almost certainly result in log jams, denying marchers the ability to march by

the UC and leading to potential confrontations with the police.

       49.       On February 29, 2024, Plaintiff SDS at UIC, through Liz Rathburn, applied for a

parade permit pursuant to the Ordinance for a march proposed to be conducted in the area of the

UC entitled March against US Funded Gaza Genocide to be held on August 19, 2024. See SDS at

UIC February 29, 2024 parade permit application attached hereto as Exhibit L.

       50.       On March 7, 2024, the CDOT Commissioner, through his designee, Bryan

Gallardo, denied the February 29, 2024 SDS at UIC parade permit application for the March

against US Funded Gaza Genocide to be held on August 19, 2024 based on Section (g) of the

Ordinance. See ¶26, supra; see also March 7, 2024 CDOT Commissioner Denial Letter, attached
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as Group Exhibit M.

        51.       In the March 7, 2024 denial letter, the CDOT Commissioner offered the same

City Alternate Route. See Exh. M; see also Exh. E.

        52.       The City Alternate Route was originally more than three (3) miles east of the UC,

the sight of the DNC, at its closest point and that section of Columbus Drive is a tree-lined street

which is largely not visible from either Lake Shore Drive to the east or Michigan Avenue to the

west.

        53.       Defendants originally made no effort to communicate with Plaintiff SDS at UIC

to discuss an alternate route with comparable visibility and a similar route and location to the extent

possible as required by Section (k) of the Ordinance (see ¶20, supra), instead making the offer of

the alternate route on a take-it-or-leave-it basis.

        54.       Defendants originally made no effort to consider alternate routes that would be

more narrowly tailored restrictions on the proposed route in terms of time, manner and place.

        55.       SDS at UIC appealed the denial of the February 29, 2024 parade permit

application to the Chicago Department of Administrative Hearings and the permit denial was

upheld. See Hearing Officer Decision in 23 PA 000005, Group Exhibit M.

        56.       Only as a result of Plaintiff SDS at UIC’s participation in this lawsuit, on July 11,

2024, Defendants offered Plaintiff SDS at UIC the Revised City Alternate Route which is within

sight and sound of the UC and the DNC. See Exhibits A and B.

        57.       However, the Defendants’ Revised City Alternate Route is just over a mile long

and will not be long enough to accommodate marches with tens of thousands of participants within

the time frame allowed.

        58.       In addition, the Defendants’ Revised City Alternate Route requires marchers to

turn off of West Washington Blvd, one of Chicago’s widest streets, onto North Hermitage and then
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West Maypole, two smaller side streets. With the size of the marches, forcing the marchers onto

smaller streets will almost certainly result in log jams, denying marchers the ability to march by

the UC and leading to potential confrontations with the police.

        59.       Chicago, through the CDOT Commissioner, originally further denied the

application for a permit to march in front of the DNC filed by Plaintiffs CAARPR, AWC and SDS

at UIC based on a recommendation from the Chicago Police Department (“CPD”) based on

unspecified security concerns immediately around the United Center DNC. At the Administrative

Hearings, CPD offered no specific justification for its recommendation and had not considered

more narrowly tailored restrictions.

        60.       On June 20, 2024, Plaintiff USPCN, through Hatem Abudayyeh, applied for a

parade permit pursuant to the Ordinance for a march proposed to be conducted in the area of the

UC entitled March against Genocide in Gaza to be held on August 19, 2024. See USPCN’s June

20, 2024 parade permit application attached hereto as Group Exhibit N.

        61.       On June 28, 2024, the CDOT Commissioner, through his designee, Bryan

Gallardo, denied the June 20, 2024 USPCN parade permit application for the March against

Genocide in Gaza to be held on August 19, 2024 based on Section (g) of the Ordinance. See ¶26,

supra; see also June 28, 2024 CDOT Commissioner Denial Letter, Exhibit N.

        62.       In the June 28, 2024 denial letter, the CDOT Commissioner offered the

Defendants’ Revised City Alternate Route. See Exh. N; see also Exhs. A and B.

        63.       Defendants originally made no effort to communicate with Plaintiff USPCN to

discuss an alternate route with a similar route and location to the extent possible as required by

Section (k) of the Ordinance (see ¶20, supra), instead making the offer of the alternate route on a

take-it-or-leave-it basis.

        64.       USPCN appealed the denial of the June 20, 2024 parade permit application to the
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Chicago Department of Administrative Hearings and the permit denial was upheld. See Hearing

Officer Decision in 23 PA 000006, attached hereto as Exhibit ).

       65.       However, the Defendants’ Revised City Alternate Route offered to USPCN is just

over a mile long and will not be long enough to accommodate marches with tens of thousands of

participants within the time frame allowed.

       66.       In addition, the Defendants’ Revised City Alternate Route requires marchers to

turn off of West Washington Blvd, one of Chicago’s widest streets, onto North Hermitage and then

West Maypole, two smaller side streets. With the size of the marches, forcing the marchers onto

smaller streets will almost certainly result in log jams, denying marchers the ability to march by

the UC and leading to potential confrontations with the police.

       67.       The DNC is an inherently political event.

       68.       Numerous elected federal officials and candidates for federal office from across

the United States, including President Biden, Vice President Harris and senators and congressional

representatives, will be in attendance at the DNC and, specifically, will be conducting their

nominating activities at the UC during the week of the DNC.

       69.       The parade permits Plaintiffs seek are to conduct peaceful marches on public

forums to convey a different political message to different attendees attending on different dates

at the DNC being held at the UC.

       70.       Each Plaintiff organization agreed it would engage with Defendants to find a

more narrowly tailored parade route in terms of location and route.




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                                            COUNT I
                                Violation of the First Amendment
                                     Denial of Parade Permits
                          Solely Based on Section (d)(1) of the Ordinance

          Plaintiffs hereby incorporate and re-allege paragraphs 1 through 70 as though set forth

herein.

          71.    The First Amendment of the U.S. Constitution protects the right of U.S. citizens

and residents, including Plaintiff CAARPR and its members, the right to freely speak and assemble

in public forums to seek redress of grievances they may have about the conduct of their

government.

          72.    Section 1983 provides in pertinent part that:

                 Every person who, under color of any statute, ordinance, regulation, custom or
                 usage of any State or Territory or the District of Columbia subjects or causes to be
                 subjected, any citizen of the United States or other persons within the jurisdiction
                 thereof of the deprivation of any rights, privileges or immunities secured by the
                 Constitution and laws shall be liable to the party injured in any action at law, suit
                 in equity or other proper proceedings for redress…

          73.    Section (d)(1) of Chicago’s Parade Ordinance:

                 a.     prohibits an organization from applying for more than one parade permit
                        even if they are sought for different dates; and

                 b.     prohibits more than one organization from seeking different parade permits
                        if the organizations have even a single member in common.

          74.    Section (d)(1) of the Ordinance is a facially unconstitutional prior restraint on

Plaintiffs’ right to engage in political speech insomuch as this section of the Ordinance allows

Defendants to deny a parade permit based solely upon such application being “duplicative” as

defined by Section (d)(1) without any consideration a permit application being duplicative without

any consideration as to the political speech in which Plaintiffs seek to engage.

          75.    In the alternative, Defendants have unconstitutionally applied Section (d)(1) of the

Ordinance to Plaintiff CAARPR’s application for a parade permit on August 22, 2024 by
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interpreting the ordinance to permit CDOT to deny a parade permit solely because an organization

or more than one organization with a common member or members seek a parade permit on the

same or even different days or which have “substantially similar themes” in the subjective opinion

of the CDOT Commissioner.

       76.     Section (d)(1) of the Ordinance allows Defendants to deny a parade permit to an

organization that is not narrowly tailored to meet a compelling government interest.

       77.     In denying Plaintiff CAARPR’s parade permit application for The March on the

DNC 2024 for August 22, 2024 without consideration of the time, manner and place of the

proposed permit, Defendants did in fact deny Plaintiff CAARPR’s and its members’ First

Amendment rights by prohibiting Plaintiff CAARPR and its members from exercising their right

to freely speak and assemble in a public forum on one of the only days the President and Vice

President of the United States are likely to be in attendance.

       78.     Section (s) of the Ordinance establishes civil fines of not less than $200.00 nor more

than $1,000.00 and establishes criminal penalties for any person who violates any section of the

Ordinance, including Section (d)(1).

       79.     The potential imposition of civil and criminal penalties on any party even applying

for a parade permit which may be deemed to be “duplicative” under the overly broad definition of

“duplicative” in Section (d)(1) of the Ordinance violates Plaintiffs’ First Amendment rights in that

the Ordinance has a chilling effect on Plaintiffs even applying for a parade permit where the same

organization has applied for a parade permit for another date or another organization with even a

single overlapping member has applied for a parade permit.

       80.     Defendants have, in fact, chilled Plaintiff CAARPR and unknown others First

Amendment rights in that Defendants directly threatened to seek penalties under the Ordinance



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when Plaintiffs AWC and SDS at UIC appealed the denial of their respective parade permit

applications.

          WHEREFORE, Plaintiffs pray that this Court enter judgment against Defendants as

follows:

                 A.     Declare that the Ordinance is void as it violates Plaintiff CAARPR’s First
                        Amendment rights by imposing an unconstitutional restraint on the right to
                        assemble and engage in political speech in a public forum;

                 B.     Declare that the Defendants violated Section 1983 and the First
                        Amendment;

                 C.     Issue a temporary and permanent injunction enjoining Defendants from
                        enforcing the Ordinance or, in the alternative, compelling Defendants to
                        approve the parade permits sought by Plaintiff CAARPR;

                 D.     Grant Plaintiff CAARPR’s reasonable attorneys’ fees and costs incurred in
                        filing this action; and

                 E.     Grant such other and further relief as this Court deems appropriate and just.

                                           COUNT II
                              Violation of the First Amendment
                  Denial of Parade Permits without Proper Consideration of a
            Narrowly Tailored Restriction to Serve a Compelling Government Interest

          Plaintiffs hereby incorporate and re-allege paragraphs 1 through 80 as though set forth

herein.

          81.    The First Amendment of the U.S. Constitution protects the right of U.S. citizens

and residents, including Plaintiffs CAARPR, AWC, SDS at UIC and USPCN and the respective

members of each, the right to engage in political speech and assemble in public forums to seek

redress of grievances they may have about the conduct of their government.

          82.    Section 1983 provides in pertinent part that:

                 Every person who, under color of any statute, ordinance, regulation, custom or
                 usage of any State or Territory or the District of Columbia subjects or causes to be
                 subjected, any citizen of the United States or other persons within the jurisdiction
                 thereof of the deprivation of any rights, privileges or immunities secured by the
                 Constitution and laws shall be liable to the party injured in any action at law, suit
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               in equity or other proper proceedings for redress…

       83.     While Section (g) of the Ordinance permits Defendants to deny a parade permit if:

(1) the proposed parade will substantially or unnecessarily interfere with traffic in the area

contiguous to the activity, or that, if the parade will substantially interfere with such traffic, that

there are available at the time of the proposed parade sufficient city resources to mitigate the

disruption; or (2) there are not available at the time of the parade a sufficient number of on-duty

police officers, or other city employees authorized to regulate traffic, to police and protect lawful

participants in the parade and non-participants from traffic-related hazards in light of the other

demands for police protection at the time of the proposed parade, Section (k) requires the City of

Chicago, in pertinent part:

       When the commissioner denies an application for a parade permit, the
       commissioner shall authorize the conduct of a parade on a date, at a time, at a
       location, or over a route different from that named by the applicant. This alternate
       permit shall, to the extent practicable, authorize an event that will have comparable
       public visibility and a similar route, location and date to that of the proposed
       parade.

       Ordinance 10-8-330(k)(emphasis added)

       84.     Plaintiffs CAARPR, AWC and SDS at UIC each sought a permit for a parade

during the week of the DNC between August 19, 2024 and August 22, 2024 to be conducted within

sight and sound of the DNC at the UC.

       85.     In denying each Plaintiffs’ parade application, Defendants offered only the City’s

Alternate Parade Route which is three miles away from the site of the UC, site of the DNC, in an

area blocked from public view by trees and completely out of sight and sound of the DNC.

       86.     Defendants unilaterally determined the City’s Alternate Parade Route, failed or

refused to engage Plaintiffs to determine if there was an alternate parade route with more

comparable visibility to the DNC and a more similar route and location.


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        87.    Defendants’ offer of the City’s Alternate Parade Route was made on a take-it-or-

leave-it basis or, in other words, if Plaintiffs CAARPR, AWC and SDS at UIC did not accept the

City’s Alternate Route, they would be forever denied a right to a parade permit during the DNC,

and if Plaintiff USPCN did not accept the Defendants’ Revised City Alternate Route, it would be

forever denied a right to a parade permit during the DNC.

        88.    The Secret Service of the United States is ultimately responsible for determining

the security perimeter around the UC during the DNC, not Defendants.

        89.    As of the date of this filing, the Secret Service has not yet finalized the security

perimeter around the UC during the DNC.

        90.    At the time Defendants offered the City’s Alternate Parade Route to Plaintiffs

CAARPR, AWC and SDS at UIC, Defendants did not know where the security perimeter around

the UC during the week of the DNC would be.

        91.    At the time Defendants offered the City’s Alternate Parade Route to Plaintiffs

CAARPR, AWC and SDS at UIC, Defendants did not have sufficient information to formulate an

alternative route that was sufficiently narrowly tailored to meet the City’s compelling interest.

        92.    At the time Defendants offered the Revised City Alternate Route to Plaintiffs

CAARPR, AWC, SDS at UIC and USPCN, Defendants did not know where the security perimeter

around the UC during the week of the DNC would be.

        93.    At the time Defendants offered the Revised City Alternate Route to Plaintiffs

CAARPR, AWC, SDS at UIC and USPCN, Defendants did not have sufficient information to

formulate an alternative route that was sufficiently narrowly tailored to meet the City’s compelling

interest.




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       94.     Defendants initially failed or refused to make any effort to consider other alternate

parade routes with more comparable visibility to the DNC and a more similar route and location

at the time of offering the City’s Alternate Parade Route.

       95.     The City’s Alternate Parade Route offered by Defendants to Plaintiffs:

               a.      was not narrowly tailored to serve a compelling government interest; and

               b.      did not leave open ample alternative channels for communication of the
                       political speech Plaintiffs seek to relay at the DNC.

       96.     In denying Plaintiff CAARPR’s parade permit application for The March on the

DNC 2024 for August 19, 2024, Plaintiff AWC’s parade permit application for the March for the

People’s Agenda for August 22, 2024 and Plaintiff SDS at UIC’s parade permit application for the

March Against US funded Gaza Genocide for August 19, 2024, all with proposed routes within

sight and sound of the DNC, and offering only the City’s Alternate Parade Route on a take-it-or-

leave-it basis, Defendants unconstitutionally interfered with Plaintiffs and their respective

members’ right to engage in political speech and assemble in a public forum.

       97.     Defendants’ application of the Ordinance in denying Plaintiffs CAARPR, AWC

and SDS at UIC’s parade permits applications pursuant to Section (g) of the Ordinance violated

the First Amendment.

       98.     Defendants’ denial of the Plaintiffs CAARPR, AWC and SDS at UIC’s parade

permit applications, providing only the City Alternate Parade Route as a take-it-or-leave-it offer,

without consideration of the time, manner and place of the proposed permit, Defendants did in fact

deny Plaintiffs CAARPR, AWC and SDS at UIC and their respective members’ First Amendment.

       99.     In denying Plaintiffs CAARPR, AWC, SDS at UIC and USPCN’s parade permit

applications and offering the Revised City Alternate Route on a take-it-or-leave-it basis,




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Defendants unconstitutionally interfered with Plaintiffs and their respective members’ right to

engage in political speech and assemble in a public forum.

       100.   Defendants’ application of the Ordinance in denying Plaintiffs CAARPR, AWC,

SDS at UIC and USPCN’s parade permits applications pursuant to Section (g) of the Ordinance

violated the First Amendment.

       WHEREFORE, Plaintiffs pray that this Court enter judgment against Defendants as

follows:

              A.       Declare that the Defendants violated Section 1983 and the First Amendment
                       in its application of the Ordinance;

              B.       Issue a temporary and permanent injunction enjoining Defendants from
                       enforcing the Ordinance or, in the alternative, compel Defendants to
                       approve the parade permits sought by Plaintiffs or, in the alternative, compel
                       Defendants to meet with Plaintiffs to determine a parade route more
                       narrowly tailored;

              C.       Grant Plaintiffs’ reasonable attorneys’ fees and costs incurred in filing this
                       action; and

              D.       Grant such other and further relief as this Court deems appropriate and just.


                                              Respectfully submitted,
Dated: July 12, 2024

                                              /s/Christopher J. Williams
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